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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

MELVIN A. EDWARDS AND BRIAN A.                      §
BREWER - TRUSTEE.,                                  §
                                                    §
        Plaintiff,                                  §
                                                    §
vs.                                                 §                       4:18-cv-00080
                                                          Civil Action No. ________________
                                                    §
PENNYMAC LOAN SERVICES, LLC.,                       §
                                                    §
        Defendants.                                 §

                                        NOTICE OF REMOVAL

          Pursuant to 28 U.S.C. §§1332, 1446 and LOCAL RULE 81.1, Defendant PennyMac Loan

 Services, LLC (“PennyMac”) removes Cause No. 17-12-15781, Melvin A. Edwards, et al. v.

 PennyMac Loan Services, LLC from the 284th Judicial District Court, Montgomery County, Texas

 to the United States District Court for the Southern District of Texas, Houston Division.

                                                    I.
                                            INTRODUCTION

          Plaintiffs Melvin A. Edwards (“Edwards”) and Brian A. Brewer – Trustee (“Brewer”)

 (collectively, the “Plaintiffs”) filed their Original Petition and Application for Injunctive Relief (the

 “Petition”) in state court on December 28, 2017. 1/ Plaintiffs seek unspecified actual and exemplary

 damages for PennyMac’s purported breach of contract and violation of TEX. PROP. CODE § 5.065, 2/

 and request permanent injunctive relief precluding PennyMac from foreclosing a deed of trust lien

 that Edwards admittedly gave to secure his purchase of real property in Montgomery County. 3/




 1/
      Exhibit A-2: Original Petition.
 2/
      Id. at ¶¶19-20.
 3/
      Id. at ¶¶24-29.
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         An ex parte Temporary Restraining Order was entered in the state court action on December

29, 2017, 4/ and, as a result, no foreclosure sale has been completed. PennyMac filed its Original

Answer to Plaintiffs’ Petition on January 8, 2018. 5/

                                                   II.
                                TIMELINESS AND CONSENT TO REMOVAL

         Plaintiffs filed their Petition in state court on December 28, 2017. 6/ As of the filing of this

Notice of Removal, PennyMac has not been formally served with process in the state court action.

Accordingly, this Notice of Removal is timely filed within thirty (30) days of service of Plaintiffs’

Petition as is required by 28 U.S.C. §1446(b)(1). Murphy Bros. v. Michetti Pipe Stringing, Inc., 526

U.S. 344, 347-48 (1999) (“[W]e hold that a named defendant’s time to remove is triggered by

simultaneous service of the summons and complaint, or receipt of the complaint, ‘through service

or otherwise,’ after and apart from service of the summons, but not by mere receipt of the complaint

unattended by any formal service.”).

         PennyMac is the only defendant in this action and, therefore, all named defendants have

consented to and joined in this removal. See 28 U.S.C. §1446(b)(2)(A).

                                              III.
                          VENUE IS APPROPRIATE IN THE HOUSTON DIVISION

         Venue is proper in the U.S. District Court for the Southern District of Texas, Houston

Division, because this district and division includes Montgomery County, Texas—the location of

the pending state court action. See 28 U.S.C. §124(b)(2)(stating that the Houston Division of the

Southern District includes Montgomery County).




4/
     Exhibit A-5: Temporary Restraining Order.
5/
     Exhibit A-6: Original Answer.
6/
     Exhibit A-2: Original Petition at p. 1.

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                                               IV.
                                     PROCEDURAL REQUIREMENTS

         Pursuant to 28 U.S.C. §1446(a) and LOCAL RULE 81, copies of all executed process,

pleadings asserting causes of action and the answers thereto, orders signed by the state judge and

the docket sheet filed in the state court action, as well as an index of matters being filed and a list of

all counsel of record, are attached to this Notice of Removal. 7/ PennyMac is filing a copy of the

Notice of Removal with the Montgomery County 284th Judicial District Court, pursuant to 28

U.S.C. §1446(d). No party has requested a jury trial.

                                                     V.
                    STATUTORY BASIS FOR REMOVAL: DIVERSITY JURISDICTION

A.       Diversity Jurisdiction: General Principles.

         Under 28 U.S.C. § 1332(a), diversity jurisdiction exists when there is complete diversity of

citizenship among the parties and the amount in controversy exceeds $75,000. See Bynane v. Bank

of N.Y. Mellon, 866 F.3d 351, 355 (5th Cir. 2017). “[C]omplete diversity requires that all persons

on one side of the controversy be citizens of different states than all persons on the other side.”

Settlement Funding, L.L.C. v. Rapid Settlements, Ltd., 851 F.3d 530, 536 (5th Cir. 2017) (internal

citations omitted). Both statutory prerequisites for diversity jurisdiction are clearly present here.

B.       Complete Diversity Exists.

         Plaintiff Edwards is a citizen and resident of Montgomery County, Texas, residing at 151

Forest Heights Lane, Montgomery, TX 77316 (the “Property”). 8/ Plaintiff Brewer – who has filed

suit in his capacity as the trustee of an unnamed trust – is also a citizen and resident of Montgomery




7/
     Exhibit A: Index of Matters Filed.
8/
     Exhibit A-2: Original Petition at ¶¶2, 7-8. (“[Plaintiffs] are individuals who reside in and/or conduct
     business in Montgomery County, Texas.”).

                                                     3
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County, Texas. 9/      Therefore, both Plaintiffs are citizens of Texas for diversity purposes. See

Bynane, 866 F.3d at 357 (where a trustee brings suit in his or her capacity as trustee, only the

trustee’s citizenship is considered and not that of any trust beneficiaries).

          Defendant PennyMac is a Delaware limited liability company. The citizenship of a limited

liability company, for diversity jurisdiction purposes, is determined by the citizenship of all of its

members. Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1080 (5th Cir. 2008). PennyMac’s

sole member is Private National Mortgage Acceptance Company, LLC (“PNMAC”). PNMAC is

also an LLC, whose members are PennyMac Financial Services, Inc. (“PFSI”) and other private

investors. As a corporation, PFSI is a citizen of the state where it is incorporated (Delaware) and

the state where it has its principal place of business (California). 28 U.S.C. § 1332(c)(1); Lincoln

Prop. Co. v. Roche, 546 U.S. 81, 88-89 (2005).             PNMAC’s other individual members and

management all reside in California, New York and Massachusetts. PNMAC is therefore a citizen

of Delaware, California, New York, and Massachusetts for diversity purposes. Accordingly,

PennyMac is not a citizen of Texas because its only member, PNMAC, is not a citizen of Texas.

          There is complete diversity in this case because no plaintiff is a citizen of the same state as

a properly joined defendant. 28 U.S.C. § 1332; Carden v. Arkoma Assocs., 494 U.S. 185, 187

(1990).

C.        The Amount in Controversy Exceeds $75,000.00.

          A court may determine that removal was proper if it is facially apparent from the complaint

that plaintiff’s claims are likely to be above the jurisdictional amount. De Aguilar v. Boeing Co., 11

F.3d 55, 57 (5th Cir. 1993). When a plaintiff does not allege an amount of damages, “the removing

defendant must prove by a preponderance of the evidence that the amount in controversy equals or



9/
     Id. at ¶2.

                                                    4
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exceeds the jurisdictional amount.” Berniard v. Dow Chemical Co., No. 10–30497, 2010 WL

8750602, at *2 (5th Cir. Aug. 6, 2010) (citing De Aguilar, 11 F.3d at 58)). Plaintiffs’ Petition does

not allege a specific amount of damages. Rather, Plaintiffs seek permanent injunctive relief

precluding PennyMac from foreclosing the Property. 10/

          “In actions seeking declaratory or injunctive relief, it is well established that the amount in

controversy is measured by the value of the object of the litigation.” Farkas v. GMAC Mortg.,

L.L.C., 737 F.3d 338, 341 (5th Cir. 2013) (quoting Hunt v. Wash. State Apple Adver. Com’'n, 432

U.S. 333, 347 (1977)). In the foreclosure context, when the claimed injury is “the potential loss of

use and ownership of the propert[y],” the value of the property determines the amount in

controversy.” Id. at 341; Nationstar Mortg. LLC v. Knox, 351 F. App'x 844, 848 (5th Cir. 2009)

(applying “right to be protected” standard to cases involving wrongful foreclosure).

          Here, the fair market value of the Property that Plaintiffs seek to prevent PennyMac from

foreclosing, according to the most recent appraisal by the local taxing authority, is at least

$198,120.00. 11/ It is therefore beyond dispute that the amount in controversy in this case exceeds

$75,000.00.

                                              CONCLUSION

          Having satisfied the requirements for removal under 28 U.S.C. §§ 1332, 1446 and LOCAL

RULE 81.1, PennyMac gives notice that Cause No. 17-12-15781, now pending in the 284th Judicial

District Court, Montgomery County, Texas, has been removed to this Court.




10/
      Exhibit A-2: Original Petition at ¶¶24-29.
11/
      See Montgomery County Appraisal District Summary attached as Exhibit A-7. It is appropriate for the
      court to take judicial notice of the Montgomery County Appraisal District Summary because it is a public
      record and the information it provides is readily ascertainable and the source—the Montgomery County
      Appraisal District—cannot reasonably be questioned. FED. R. EVID. 201(b)(2), 803(8); See Funk v.
      Stryker, 631 F.3d 777, 783 (5th Cir. 2011).

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                                               Respectfully submitted,


                                               By:     /s/ Joshua A. Huber
                                                     Joshua A. Huber
                                                     Attorney-in-Charge
                                                     State Bar No. 24065457
                                                     SD Tex. Bar No. 1001404
                                                     BLANK ROME LLP
                                                     717 Texas Avenue, Suite 1400
                                                     Houston, Texas 77002
                                                     (713) 228-6601
                                                     (713) 228-6605 (fax)
                                                     jhuber@blankrome.com
                                               ATTORNEY FOR DEFENDANT PENNYMAC LOAN
                                               SERVICES, LLC

                                CERTIFICATE OF SERVICE

       I hereby certify that on January 10, 2018, a true and correct copy of the foregoing and/or
attached instrument was served on all counsel of record pursuant to the Federal Rules of Civil
Procedure through the Southern District of Texas CM/ECF E-File System and as indicated below:

       Robert C. Vilt
       Erick Delarue
       VILT AND ASSOCIATES, P.C.
       5177 Richmond Avenue, Suite 1142
       Houston, Texas 77056
       Via E-mail: clay@viltlaw.com
       Via E-mail: erick@viltlaw.com




                                                              /s/ Joshua A. Huber
                                                           Joshua A. Huber




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